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                     MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
                                                       ATTORNEYS AT LAW


                                                 1300 MOUNT KEMBLE AVENUE
                                                        P.O. BOX 2075
                                              MORRISTOWN, NEW JERSEY 07962-2075
                                                        (973) 993-8100
                                                   FACSIMILE (973) 425-0161

     THOMAS R. CURTIN
     Direct Dial: (973) 401-7117
     tcurtin@mdmc-law.com


                                                                July 17, 2020

     VIA ECF

     Hon. Michael A. Shipp, U.S.D.J.
     Clarkson S. Fisher Federal Building
      and U.S. Courthouse, Room 5000
     402 E. State Street
     Trenton, New Jersey 08608

                Re:         UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al.
                            Civil Action No. 19-17272 (MAS) (ZNQ)

     Dear Judge Shipp:

            Plaintiffs respectfully submit this response to Defendants’ July 14, 2020 letter (Dkt. No.
     76) regarding the motion to dismiss ruling in UMG Recordings, Inc. v. Bright House Networks,
     LLC, No. 8:19-cv-710-MSS-TGW (M.D. Fla.) (“Bright House”).

            First, Plaintiffs in this case have alleged two separate claims for secondary infringement
     against Defendants RCN and Patriot: one for contributory infringement, and a second for
     vicarious liability. The Bright House ruling concerns only vicarious liability, not contributory
     infringement. In fact, the defendant internet service provider (“ISP”) in Bright House did not
     even try to move to dismiss the plaintiffs’ contributory infringement claim. Thus, the Bright
     House ruling has no bearing on Plaintiffs’ contributory infringement claims here.

             Second, the Bright House court’s reasoning contravenes well-established law concerning
     vicarious liability, including case law from this judicial district. Central to the Bright House
     ruling is the court’s conclusion that the plaintiffs failed to plead the direct financial benefit
     element of vicarious liability, because “the plaintiff[s] must . . . allege that the availability of
     infringing content ‘provide[s] the main customer ‘draw’ to the [service][,]’” which, the court
     found, the plaintiffs in that case did not (and could not plausibly) allege. Bright House Op. at 10
     (Dkt. 76-1) (emphasis in original). Bright House cites a single 2001 district court case (Adobe
     Systems Inc. v. Canus Products, Inc., 173 F. Supp. 2d 1044, 1051 (C.D. Cal. 2001)) in support of
     this holding. Id.

           But courts have overwhelmingly rejected the notion that the infringing content must be
     the “main” draw to state a claim for vicarious liability. As this Court has observed, “[t]he case
     law indicates that the presence of infringing music does not need to be a significant draw to

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establish vicarious liability, only that infringing music must be ‘a’ draw.” Arista Records, Inc. v.
Flea World, Inc., No. CIV.A. 03-2670 (JBS), 2006 WL 842883, at *12 (D.N.J. Mar. 31, 2006)
(citing Fonovisa, Inc. v. Cherry Auction, Inc., 76 F.3d 259, 263 (9th Cir. 1996)) (emphasis
added). See also Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir. 2004) (the direct financial
benefit element is satisfied where there is a “causal relationship between the infringing activity
and any financial benefit a defendant reaps, regardless of how substantial the benefit is in
proportion to a defendant’s overall profits.”) (emphasis added); A&M Records, Inc. v. Napster,
Inc., 239 F.2d 1004 (9th Cir. 2001) (a financial benefit can include simply having more users
choose the defendant’s service, whenever “the availability of infringing material acts as a ‘draw’
for [the defendant’s] customers”) (emphasis added).

        Indeed, in two decisions this year involving these same Plaintiffs against other ISPs,
courts have followed the same reasoning as in Flea World and the cases it cited, sustaining
vicarious liability claims involving the same sort of allegations that Plaintiffs have pleaded in
this case. In Sony Music Entertainment v. Cox Communications, Inc. (“Cox”), the court denied in
substantial part Cox’s Rule 50 post-trial motion, affirming a jury’s finding of vicarious liability
against Cox. No. 1:18-cv-950-LO-JFA, 2020 WL 3121306 (E.D. Va. June 2, 2020). The Cox
court cited Ellison in holding that (1) “a ‘draw’ need not be substantial,” (2) “retention of
subscriptions and potential losses from obstructions to customer infringement are relevant
considerations to establish this causal connection,” and (3) “there was ample evidence for a
reasonable jury to conclude, as this jury did, that Cox gained some direct financial benefit from
the infringement, no matter how small.” 2020 WL 3121306, at *9 (emphasis in original).
Similarly, in Warner Records Inc. v. Charter Communications, Inc. (“Charter”), the court denied
Charter’s motion to dismiss the plaintiff music companies’ claim for vicarious liability, holding
that a “[f]inancial benefit exists where the availability of infringing material acts as a draw for
customers and that [t]he size of the ‘draw’ relative to a defendant’s overall business is
immaterial.” No. 19-cv-00874-RBJ-MEH, 2020 WL 1872387, at *3 (D. Colo. Apr. 15, 2020)
(internal quotations and citation omitted). The Charter court concluded that “[i]f subscribers are
attracted to Charter’s services in part because of the ability to infringe on plaintiffs’ copyrighted
materials in particular, this is sufficient to show that the materials were ‘a draw’.” Id. at 4
(emphasis in original).

        Here, Plaintiffs plead precisely the type of allegations found sufficient in Cox and
Charter: “Defendants’ failure to adequately police RCN’s infringing subscribers was also a draw
for customers to purchase RCN’s internet services” as those “subscribers who sought to engage
in online infringement knew that they could do so on RCN’s network with impunity, which
attracted those subscribers to use RCN’s service to do so.” Pls.’ 1st Am. Compl. (Dkt. No. 9)
(“FAC”) ¶ 7. See also id. ¶¶ 99 (“Indeed, the ability to download music illegally—and
particularly to download Plaintiffs’ music using the high internet speeds touted by RCN to
customers—without facing any repercussions from RCN and Patriot, acts as a powerful draw for
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RCN’s subscribers, who utilize RCN’s service to download infringing music files using
BitTorrent protocols.”), 125.

        Third, Plaintiffs in this case have alleged that Defendants enjoy another financial benefit:
the ongoing subscriber fees that Defendants reap from infringing users. As set forth in the First
Amended Complaint, RCN and Patriot receive a direct financial benefit from users’ infringing
conduct by refusing to terminate users’ accounts after learning of their infringement. By
tolerating such users’ illegal activity, Defendants increase their revenue, pocketing substantial
subscription fees that Defendants otherwise would have to forgo if they properly terminated
infringing accounts. See, e.g., FAC ¶¶ 8 (“By continuing to provide known repeat infringers with
the internet service they use to commit their infringement, Defendants obtained a direct financial
benefit from the subscribers’ infringing activity in the form of monthly subscription fees that
they would not have received if they had terminated those subscribers’ accounts.”), 100. Courts
have recognized that where defendants have “an economic incentive to tolerate infringing
conduct,” they derive a direct financial benefit from such conduct—and thus bear vicarious
liability for their subscribers’ wrongdoing. Capitol Records, LLC v. Escape Media Grp., Inc.,
2015 WL 1402049, at *42 (S.D.N.Y. Mar. 25, 2015). The Cox and Charter courts both found
that this kind of financial benefit supported vicarious liability against the ISPs in those cases. See
Cox, 2020 WL 3121306, at *10 (evidence supported jury’s finding of a “connection between
infringing accounts and continued collection of revenue rather than termination.”); Charter, 2020
WL 1872387, at *5 (“Charter’s profit comes directly from subscriptions, and it is the subscribers
themselves who engage in infringement. Thus, there is only one layer of removal between
Charter and the infringing activity, and Charter receives a financial benefit directly from those
engaged in infringement.”).

       Plaintiffs respectfully submit that this Court should adopt the approach taken by the
majority of courts with respect to the direct financial benefit element of Plaintiffs’ claim for
vicarious liability, and should reject the approach of the Bright House court’s ruling.

                                                Respectfully yours,

                              MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP

                                                s/ Thomas R. Curtin

                                                THOMAS R. CURTIN

cc:    All Counsel (via ECF and e-mail)
